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                                                                          6                              IN THE UNITED STATES DISTRICT COURT
                                                                          7
                                                                                                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                         10   UNITED STATES OF AMERICA,
                                                                         11                                                                No. C 14-00175 WHA
United States District Court




                                                                                            Plaintiff,
                               For the Northern District of California




                                                                         12     v.
                                                                         13                                                                NOTICE RE CALIFORNIA
                                                                              PACIFIC GAS AND ELECTRIC                                     WILDFIRES
                                                                         14   COMPANY,

                                                                         15                 Defendant.
                                                                                                                         /
                                                                         16
                                                                         17          With respect to the California wildfires since the judgment herein, the parties and the

                                                                         18   monitor shall provide written answers to the Court and Probation on the following questions by

                                                                         19   DECEMBER 31, 2018:

                                                                         20
                                                                         21                         1.       What requirements of the judgment herein, including the

                                                                         22                 requirement against further federal, state, or local crimes, might be

                                                                         23                 implicated were any wildfire started by reckless operation or

                                                                         24                 maintenance of PG&E power lines?

                                                                         25
                                                                         26                         2.       What requirements of the judgment herein might be

                                                                         27                 implicated by any inaccurate, slow, or failed reporting of information

                                                                         28                 about any wildfire by PG&E?
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                                                                          1                       3.      What specific steps has the monitor herein taken to
                                                                          2                monitor and improve PG&E safety and reporting with respect to power
                                                                          3                lines and wildfires?
                                                                          4
                                                                          5                       4.      Provide an accurate and complete statement of the role,
                                                                          6                if any, of PG&E in causing and reporting the recent Camp Fire in Butte
                                                                          7                County and all other wildfires in California since the judgment herein.
                                                                          8
                                                                          9
                                                                         10   Dated: November 27, 2018.
                                                                                                                                    WILLIAM ALSUP
                                                                         11                                                         UNITED STATES DISTRICT JUDGE
United States District Court
                               For the Northern District of California




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